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 5
     Attorneys for Specially-Appearing
 6   Defendant
     H.E. AHMED AL-RUMAIHI
 7   .
 8
 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11   BIG3 LLC, et al.,                               CASE NO. 2:18-CV-3466 DMG
12                            Plaintiffs,
                                                     DECLARATION OF MILES M.
13           v.                                      COOLEY IN SUPPORT OF
14                                                   SPECIALLY-APPEARING
     AHMED AL-RUMAIHI, et al.,                       DEFENDANT H.E. AL-
15                                                   RUMAIHI’S MOTION TO
                  Defendants.                        DISMISS PURSUANT TO
16                                                   VIENNA CONVENTION ON
17                                                   DIPLOMATIC RELATIONS AND
                                                     DIPLOMATIC RELATIONS ACT
18
                                                     Room:      8C
19                                                   Judge:     Hon. Dolly M. Gee
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 1           I, Miles M. Cooley, declare as follows:
 2           1.         I am an attorney at law, admitted to the State Bar of California and the
 3   Central District of California, and counsel for Specially-Appearing Defendant H.E.
 4   Ahmed Al-Rumaihi (“H.E. Al-Rumaihi”) in this action.
 5           2.         I submit this declaration in support of H.E. Al-Rumaihi’s Motion to
 6   Dismiss pursuant to the Vienna Convention on Diplomatic Relations and Diplomatic
 7   Relations Act (the “Motion”). As to the following facts, I know them to be true of
 8   my own personal knowledge. If called upon to testify, I would and could testify
 9   competently to the facts set forth herein.
10           3.         In or about mid-April 2019, and more than seven days prior to the filing
11   of the Motion, I met and conferred with Ben J. Meiselas, counsel of record for
12   Plaintiffs Big3 Basketball, LLC, O’Shea Jackson, and Jeff Kwatinetz about the filing
13   of the Motion. He indicated that he understood why we might want to make such a
14   motion, but that he would likely oppose it.
15           4.         Attached hereto as Exhibit A is a true and correct redacted copy of H.E.
16   Al-Rumaihi’s diplomatic passport, issued by the State of Qatar.
17           5.         Attached hereto as Exhibit B is a true and correct redacted copy of a
18   letter, with certified translation, from the Ministry of Foreign Affairs for the State of
19   Qatar, Department of Protocol, to the Embassy of the United States in Doha,
20   requesting the issuance of H.E. Al-Rumaihi’s A-1 visa.
21           6.         On August 30, 2018, the United States issued H.E. Al-Rumaihi an A-1
22   visa. Attached hereto as Exhibit C is a true and correct redacted copy of H.E. Al-
23   Rumaihi’s A-1 visa.
24           7.         On September 7, 2018, the Qatari Embassy formally notified the United
25   States Department of State of H.E. Al-Rumaihi’s diplomatic posting via a Notification
26   of Appointment (“NOA”) through the Office of Foreign Mission e-Gov system
27   (“eGov”). Attached hereto as Exhibit D is a true and correct copy of the NOA
28   submission via eGov. The eGov system is used by all foreign missions to transmit
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 1   requests for benefits and services to the Office of Foreign Missions and the Office of
 2   the Chief of Protocol.
 3           8.         On September 7, 2018, the United States Department of State granted
 4   H.E. Al Rumaihi entry into the United States for his diplomatic appointment.
 5           9.         On September 13, 2018, the United States Department of State formally
 6   recognized his accredited diplomatic status, and issued H.E. Al-Rumaihi his
 7   Diplomatic Identification Card. Attached hereto as Exhibit E is a true and correct
 8   redacted copy of both sides of H.E. Al-Rumaihi’s Diplomatic Identification Card.
 9           10.        Attached as Exhibit F is a true and correct copy of the United States
10   Department of State Diplomatic List for the Fall of 2018. The State Department
11   publishes            this      list      on       its      website,      available       at
12   https://www.state.gov/documents/organization/287365.pdf.
13           11.        Attached hereto as Exhibit G are true and correct copies of relevant
14   portions of the Diplomatic List archives published by the United States Department
15   of State reflecting H.E. Al-Rumaihi’s prior accredited diplomatic appointment to the
16   Embassy of the State of Qatar in Washington D.C. The attached archives reflect H.E.
17   Al-Rumaihi’s diplomatic appointments as of Fall 2009, Winter 2010, Spring 2010,
18   Summer 2010, Fall 2010, Winter 2011, Spring 2011, Winter 2012, Spring/Summer
19   2012, Fall 2012, February 2013, and Spring 2013.
20           12.        Attached hereto as Exhibit H are true and correct copies of relevant
21   portions of the Foreign Career Consular Offices archives published by the United
22   States Department of State reflecting H.E. Al-Rumaihi’s prior accredited consular
23   appointment to the Consulate General of the State of Qatar in New York. The attached
24   archives reflect H.E. Al-Rumaihi’s consular appointments as of Winter 2014,
25   Spring/Summer 2015, and Winter/Spring 2016.
26           13.        Attached hereto as Exhibit I is a true and correct copy of the Statement
27   of Interest publicly filed by the United States in Sabbithi v. Al Saleh, 605 F. Supp. 2d
28   122 (D.D.C. 2009).
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 1           14.        Effective September 7, 2018, H.E. Al-Rumaihi transferred all of his
 2   interest in Sport Trinity to an irrevocable trust.       The trust is managed by an
 3   independent trustee, for which H.E. Al-Rumaihi is not a beneficiary. Among other
 4   things, the trust restricts H.E. Al-Rumaihi’s ability to communicate with the trustee,
 5   and confers the trustee with sole discretion to sell, exchange, or otherwise depose of
 6   the property.         A true and correct copy of the trust agreement has been filed
 7   conditionally under seal as Exhibit J to this Declaration.
 8           I declare that the foregoing is true and correct under penalty of perjury under
 9   the laws of the United States.
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11           Executed this 6th day of May, 2019, at Los Angeles, California.
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13                                             /s/ Miles M. Cooley
                                               Miles M. Cooley
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